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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
                v.                               :
                                                 :       Case Number: 21-mj-202
RUBEN VERASTIGUI,                                :
                                                 :       Detention Hearing: February 9, 2021
                        Defendant.               :


                GOVERNMENT’S MEMORANDUM IN SUPPORT OF
            PRETRIAL DETENTION OF DEFENDANT RUBEN VERASTIGUI

        In the spring of 2020, defendant Ruben Verastigui joined a group devoted to trading

child pornography and discussing sexually abusing children. There were 17 other members,

several of which boasted about actively producing child pornography of children they had access

to and then shared that content with the group. Not only did Verastigui encourage others in the

group to rape children and solicited them to share child pornography, but he also discussed in

great detail how much he enjoyed seeing children getting raped and killed. Specifically, he told

another group member that he, “would love to see a kid get tied up and fuck so hard they don’t

survive in the end . . . I would love to see that, just beating the kid as they fuck the life out of it . .

. Fucking a now dead kids body pumping cum into him and then tossing him to the side walking

away like nothing.” Later on in the conversation, he and the other group member talked about

traveling so that they could accomplish this task. After the other group member said there were

too many cops for him to come to D.C. to do it, Verastigui responded, “I guess you’re right.

Well have be somewhere we could get a kid and kill them.” Verastigui also said his age

preference was infants up to 12 year olds. And, he commented, “I can’t stop thinking about

touching, raping, and killing a newborn baby, been hard all morning.” During his time in the



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group, he distributed multiple videos of child pornography to Arizona and elsewhere, and he also

received depictions of a group member raping his nephew (the same group member Verastigui

plotted to kill a child with). Verastigui is a danger to the community and should be detained

pending trial in this case.

        The Government moves for detention pursuant to 18 U.S.C. §§ 3142(f)(1)(A). Verastigui

has been charged by criminal complaint in the District of Columbia with one count of receipt of

child pornography, in violation of 18 U.S.C. § 2252A(a)(2). This is a crime of violence, and

there is a presumption of Verastigui’s dangerousness. Under the factors outlined in 18 U.S.C. §

3142(g), there are no condition or combination of conditions that will reasonably assure the

safety of any person and the community or Verastigui’s presence in court if he is released.

                                   FACTUAL BACKGROUND

        Verastigui is currently under investigation in two different jurisdictions for sharing,

receiving, and possessing child pornography.             HSI Arizona started investigating a group on a

particular website (hereinafter Application A) in June of 2020. 1 Agents quickly learned that

several members of this group had sexually abused children. After several search warrants, they

recovered chat conversations from this group and discovered that there were 18 members. One of

those members, defendant Ruben Verastigui, resided in the District of Columbia.                     Verastigui’s

display name in the group was “Landon,” and his username was “@somethingtaken.” Verastigui

was active in the group from April of 2020 to February of 2021.

        The following is an example of a chat between Ruben Verastigui (using the username

@somethingtaken) and another group member (S-1) on April 13, 2020:



1
 The actual name of Application A is known to law enforcement but not revealed here to protect the integrity of the
ongoing investigation.


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S-1:                        So you like babies, huh

RUBEN2:                     my absolute favorite

S-1:                        Fuck yeah. How dark are you? What are u into?

RUBEN:                      Well like I said babies are some of my biggest turn-ons and beast

S-1:                        Young rape…

RUBEN:                      Fuck I love all that

RUBEN:                      I have been wanting to see videos of guys hardcore rapping a baby..when

                            a baby screams it’s my favorite

RUBEN:                      I’ve lost a lot of videos so only have one I’ve been jerking off to

S-1:                        Which one?

RUBEN:                      The ginger guy fucked the baby…have any good ones?

S-1 sent Verastigui a video file depicting a red headed adult male raping an infant/toddler.

Verastigui responded, “FUCK YES!!!”

          S-1 then sent Verastigui multiple additional child pornography files, including one in

which an adult male assaults a child by putting his penis in between the infant/toddler’s lips.

S-1:                        this is my nephew

RUBEN:                      That’s so fucking cute have you done anything else to him?

S-1:                        That was the only time

RUBEN:                      Hahahahah still super cute, so do you get off to the thought of

                            stabbing a kid or dog?

RUBEN:                      ….but yeah I would love to see a kid get tied up and fuck so hard they

                            don’t survive the end. And then the guy is just fucking a dead kid.


2
    @somethingtaken (aka Landon) is substituted with Verastigui’s first name above for ease of reading.


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RUBEN:                   I would love to see that, just beating the kid as they fuck the life out of it,

                        would love to chock them soo hard

S-1:                    Wrap your hands around its throat as it goes purple and blue, punching it

                        and raping it

RUBEN:                  Fucking a now dead kids body pumping cum into him and then tossing

                        him to the side walking away like nothing

S-1:                    Fuck yea.

S-1:                    Come to AZ

RUBEN:                  Come to DC ;)

S-1:                    DC is scary tho…Lots of cops

RUBEN:                   I guess you're right; Well have to be somewhere we could get a kid and

                        kill them

       The following day, the chats continued:

RUBEN:                   I can't stop think about touching, raping and killing a newborn baby, been

                        hard all morning.

RUBEN:                  Do you have any hardcore videos



S-1 then sent Verastigui nine videos of child pornography, and Verastigui said that he “wished

they were longer.”




         In another chat on April 17, 2020, Verastigui said the following:



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RUBEN:                 I would love to see you rape a baby and have you do everything I say to

                       do to it

S-1:                   Mmmmm yes baby

RUBEN:                 I want something

S-1:                   My nephew, we can do everything to him

RUBEN:                 Fuck yes

S-1:                   With your friend too he’s hot

       On February 5, 2020, Homeland Security executed a search warrant at Verastigui’s

residence in the District of Columbia.    Verastigui was living alone and was present during the

search. He admitted to being Landon on Application A and to using the @somethingtaken name.

He acknowledged viewing, receiving, and distributing child pornography in the group. He stated

that he knew the purpose of the group was to exchange explicit images of children. Numerous

images/videos of child pornography were recovered from his devices, including several of the

videos described above that S1 sent Verastigui.

                            APPLICABLE LEGAL STANDARD

       The Bail Reform Act permits a judicial officer to hold an individual without bond

pending trial if the officer finds clear and convincing evidence that “no condition or combination

of conditions will reasonably assure the appearance of the person as required and the safety of

any other person and the community.” 18 U.S.C. § 3142(e). Pursuant to 18 U.S.C. §

3142(f)(1)(A), the judicial officer shall hold a hearing on the question of detention upon the

motion of the government in a case that involves a crime of violence. A crime of violence is

defined to include any felony under Chapter 110 or Chapter 117. 18 U.S.C. § 3156(a)(4)(C).

       The crime of receipt of child pornography, in violation of 18 U.S.C. §§ 2252A(a)(2), is a



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felony offense under Chapters 110, and, as such, a crimes of violence that under 18 U.S.C. §

3142(e)(3)(E) create a rebuttable presumption that the defendant constitutes a danger to the

community, and that no pretrial release condition or combination of conditions may be imposed

to ensure the safety of any other person and the community. This presumption “operate[s] at a

minimum to impose a burden of production on the defendant to offer some credible evidence

contrary to the statutory presumption.” United States v. Alatishe, 768 F.2d 364, 371 (D.C. Cir.

1985).

         In determining whether the defendant has overcome that presumption, the Court must

consider the following factors: (1) the nature and circumstances of the offense charged; (2) the

weight of the evidence against the defendant; (3) the history and characteristics of the defendant;

and (4) the nature and seriousness of the danger to any person or the community that would be

posed by the defendant’s release. See 18 U.S.C. § 3142(g). Even when the defendant has offered

evidence to rebut the presumption of dangerousness, the presumption remains a factor in the

court’s analysis of the § 3142(g) factors. See United States v. Dominguez, 783 F.2d 702, 707 (7th

Cir. 1983) (“Use of that word [rebutted] in this context is somewhat misleading because the

rebutted presumption is not erased. Instead it remains in the case as an evidentiary finding

militating against release, to be weighed along with other evidence relevant to factors listed in §

3142(g).”). As the Sixth Circuit has observed, “[t]he presumption [of dangerousness] remains as

a factor because it is not simply an evidentiary tool designed for the courts. Instead, the

presumption reflects Congress’s substantive judgment that particular classes of offenders should

ordinarily be detained prior to trial.” United States v. Stone, 608 F.3d 939, 945-46 (6th Cir. 2010)

(“To rebut the presumption, therefore, a defendant should ‘present all the special features of his

case’ that take it outside ‘the congressional paradigm.’”).



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                                     ANALYSIS

       For the reasons that follow, the Government submits that there are no condition or

combination of conditions that will reasonably assure the safety of any other person and the

community or Verastigui’s appearance in court if he is released.

       A.      Nature and Circumstances of the Charged Offense

       The nature and circumstances of this offense demonstrate Verastigui’s dangerousness. Not

only did Verastigui receive and share child pornography, he joined a group of likeminded

individuals, some of whom had abused or were actively abusing children. And, Verastigui took

special delight in images and videos of particularly young children, commenting how much he

enjoyed depictions of babies being raped. Verastigui received images/videos that he knew to be

of a group member abusing a male relative. Instead of ending the conversation, he expressed

approval and encouraged the behavior. Most troubling of all, Verastigui talked about how much

he would like to see a child raped to the point of death. And, he and S1 plotted about how to make

this dream a reality, discussing kidnapping a child. The nature and circumstances of the offense

warrant detention.

       B. The Weight of the Evidence Against the Defendant

       The weight of the evidence is strong and favors detention. Verastigui admitted to being

on Application A, to his usernames, and to sharing and receiving child pornography. Moreover,

HSI has the Application A chat thread containing both the child pornography as well as the

words that Verastigui used. In addition, a preliminary forensic preview revealed that

Verastigui’s electronic devices contained evidence of his activity on Application A and in the

group, as well as numerous of the child pornography videos he received from S1. Finally,

Verastigui shared a photo with S1 in the chat and also stated that he was from D.C.



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       C. The History and Characteristics of the Defendant

       Verastigui does not have any criminal history. However, Verastigui’s criminal conduct

here was not a spontaneous decision made in a moment of weakness. He made the decision day

in and day out to access, share, and receive child pornography and got invited to an “elite” group

of pedophiles, some of whom were actively sexually abusing children. He faces a mandatory

minimum of five years and a maximum of twenty years’ imprisonment, along with potential

charges for distribution of child pornography in Arizona, charges that carry the possibility of

decades of imprisonment.

       D. The Nature and Seriousness of the Danger to Any Person or the Community

       Verastigui’s release would put the public and children everywhere at-risk. Every red flag

has been raised when it comes to his behavior. It would be troublesome enough if Verastigui

simply had accessed and viewed sexually explicit depictions of young children being brutally

raped. But, here Verastigui’s conduct goes far beyond that. He communicated with a group of

like-minded individuals, encouraged one or more of them to sexually abuse children, expressed

his desire to abuse children, discussed kidnapping a child, received images he knew to be

production images of S-1’s nephew, and repeatedly talked about how much he would enjoy

seeing a child get raped and killed so that there was “nothing” left.




                                      CONCLUSION

       There are no condition or combination of conditions that would ensure the safety of the


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community if Verastigui were to be released.




                                     Respectfully submitted,

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